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1    THOMAS P. O’BRIEN
     United States Attorney
2    CHRISTINE C. EWELL
     Assistant United States Attorney
3    Chief, Criminal Division
     DAVID P. KOWAL (Cal. Bar No. 188651)
4    RASHA GERGES (Cal. Bar No. 218248)
     Assistant United States Attorneys
5    OCEDTF Section
          1400 United States Courthouse
6         312 North Spring Street
          Los Angeles, California 90012
7         Telephone: (213) 894-5136/6530
          Facsimile: (213) 894-0142
8         E-mail:   david.kowal@usdoj.gov
                    rasha.gerges@usdoj.gov
9

10   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
11

12                          UNITED STATES DISTRICT COURT

13                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

14    UNITED STATES OF AMERICA,            )   CR No. 07-689-GW
                                           )
15                     Plaintiff,          )   GOVERNMENT'S PROPOSED JURY
                                           )
16                                             INSTRUCTIONS REGARDING DEFENSE OF
                      v.                   )   ENTRAPMENT BY ESTOPPEL
                                           )
17                                             (ANNOTATED)
      CHARLES C. LYNCH, and                )
      ARMOND TENNYSON TOLLETTE, JR.,       )
18                                         )
                       Defendants.         )
19                                         )
                                           )
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                                           )
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23        Plaintiff United States of America, by and through its attorney

24   of record, the United States Attorney for the Central District of

25   California, hereby files its proposed jury instructions relating to

26   the defense of entrapment by estoppel.        To the extent the Court is

27   inclined to instruct the jury on this defense, the government

28   respectfully requests that the Court give the following
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1    instructions.

2    Dated: July 31, 2008               Respectfully submitted,

3                                       THOMAS P. O’BRIEN
                                        United States Attorney
4
                                        CHRISTINE C. EWELL
5                                       Assistant United States Attorney
                                        Chief, Criminal Division
6

7                                                      /S/
                                        DAVID P. KOWAL
8                                       RASHA GERGES
                                        Assistant United States Attorney
9                                       OCEDTF Section

10                                      Attorneys for Plaintiff
                                        United States of America
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1                            COURT’S INSTRUCTION NO. ___

2                     GOVERNMENT’S PROPOSED INSTRUCTION NO. 1

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4         One of the questions in this case is whether the defendant

5    reasonably relied on a government announcement that the criminal act

6    was legal.    This defense is called entrapment by estoppel.          This

7    defense is available only for Counts One, Four, and Five.           This

8    defense does not apply to Counts Two and Three.

9         For you to return a verdict of not guilty to Counts One, Four,

10   or Five, based on the defense of entrapment by estoppel, the

11   defendant must prove the following five elements by a preponderance

12   of the evidence:

13        (1) an authorized United States government official empowered

14   to render the claimed erroneous advice;

15        (2) who has been made aware of all the relevant historical

16   facts;

17        (3) affirmatively told defendant the proscribed conduct was

18   permissible;

19        (4) defendant relied on the false information; and

20        (5) his reliance was reasonable.

21        Unlike the other matters I have discussed with you, the

22   defendant has the burden of proof.         If the defendant proves by a

23   preponderance of the evidence the five elements listed above, then

24   you must find the defendant not guilty.

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                                    Page One of Two
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1         Preponderance of the evidence is defined as “more likely than

2    not.”   In other words, the defendant must convince you that the five

3    factors are more likely true than not.

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15        Sixth Circuit Model Jury Instruction No. 6.09 [Entrapment

16        by Estoppel (modified to state five factors listed in

17        United States v. Batterjee, 361 F.3d 1210, 1216 (9th Cir.

18        2004), and to include “United States” government official,

19        see Sixth Circuit Model Jury Instruction 6.09, Commentary

20        (“The term ‘United States government’ reflects the case

21        law which specifies that the entrapment-by-estoppel

22        defense will not shield a defendant from federal

23        prosecution when the representations of legality were made

24        by state officers.”); Seventh Circuit Model Jury

25        Instruction No. 6.07 (include “United States” before
          government official “if there is a factual dispute over
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          whether the official who made representations to the
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          defendant was a federal official or some other type.”)]
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1                            COURT’S INSTRUCTION NO. ___

2                     GOVERNMENT’S PROPOSED INSTRUCTION NO. 2

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4         The entrapment by estoppel defense applies only, if at all, to

5    statements made by United States government officials.           It does not

6    apply to statements made by anyone else, including state or local

7    officials.

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14        United States v. Mack, 164 F.3d 467, 471, 474 (9th Cir. 1999)

15        (defendant facing federal firearms charges could not rely on

16        the advice or authority of state officials in presenting public

17        authority or entrapment by estoppel defense); United States v.

18        Collins, 61 F.3d 1379, 1385 (9th Cir. 1995)(“a defendant must

19        demonstrate that he or she relied either on ‘a federal

20        government official empowered to render the claimed erroneous

21        advice, or on an authorized agent of the federal government,

22        who . . . has been granted the authority from the government to

23        render such advice.’"); United States v. Brebner, 951 F.2d

24        1017, 1026 (9th Cir. 1991)("Brebner was not entitled to rely on

25        any representations made by state or local officials because,
          unlike situations where estoppel has been upheld, these
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          officials lacked the authority to bind the federal government
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          to an erroneous interpretation of federal law.").
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1                            COURT’S INSTRUCTION NO. ___

2                     GOVERNMENT’S PROPOSED INSTRUCTION NO. 3

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4         For purposes of the third element of the entrapment by estoppel

5    defense, the defendant must do more than show that the United States

6    government made vague or even contradictory statements.

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24        United States v. Ramirez-Valencia, 202 F.3d 1106, 1109 (9th

25        Cir. 2000)(“To succeed under this theory [entrapment by
          estoppel], defendant must do more than show that the government
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          made ‘vague or even contradictory statements.’”).
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1                            COURT’S INSTRUCTION NO. ___

2                     GOVERNMENT’S PROPOSED INSTRUCTION NO. 4

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4         For purposes of the fifth element of the entrapment by estoppel

5    defense, a defendant’s reliance is reasonable if a person sincerely

6    desirous of obeying the law would have accepted the information as

7    true, and would not have been put on notice to make further

8    inquiries.

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25        United States v. Brebner, 951 F.2d 1017, 1024 (9th Cir.
          1991).
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1                            COURT’S INSTRUCTION NO. ___

2                     GOVERNMENT’S PROPOSED INSTRUCTION NO. 5

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4         Unless you find that the defendant has met his burden of

5    proving each element of the defense of entrapment by estoppel as to

6    a particular count, ignorance of the law is no excuse to the crimes

7    charged in the Indictment.      The government is not required to prove

8    that the defendant knew that his acts were unlawful.           Similarly,

9    defendant’s good faith belief in the legality of his conduct is not

10   a defense to the crimes charged in the indictment.

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12        United States v. Scarmazzo, __ F. Supp. 2d           , 2008 WL 1946523,

13        *3 (E.D. Cal. May 1, 2008) ("Possession and distribution of a

14        controlled substance is not a crime in which the Defendant’s

15        good faith belief in the illegality of conduct negates an

16        element of the charges."); see also United States v. Marsh, 894

17        F.2d 1035, 40-41 (9th Cir. 1990)(approving jury instruction

18        that "ignorance of the law is not defense" in controlled

19        substance conspiracy where jury sent note regarding whether the

20        government had to prove defendants knew manufacture of drug

21        "euphoria" was illegal); United States v. Sherbondy, 865 F.2d

22        996, 1002 (9th Cir. 1988); United States v. Hillman, 461 F.2d

23        1081, 1082 (9th Cir. 1972); Ninth Circuit Model Criminal Jury

24        Instruction No. 5.6 (2003) [Knowingly Defined].

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